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TNW Truelove, Larr y Joe
3. MAG. nKT./i)i~;e. NUMBER 4. nis'r. DKT.mEF. NUMBER 5. APPEALS DK'r./DEF. NUMBER 6. 0THER nKT. NUMBER

2:01-020085-004
7. iN CASE/MATTER or icm mmi s. PAYMENTCATEGORY 9. 'r‘rPE PERSON REPRESENTE|J 10. Rlsi;:P}zESENTA)TlON TVPE
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U.S. v. Tri.ielove Felony Adult Def'endant Supervised Release

 

 

 

 

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1) 21 846=C M.F -- CONSPIRACY TO MANUFACTURE CONTROLLED SUBS TANCE

 

  

ll. ATI`ORNEY'S NAME First N\me, M.l.. Last Name, including any suffix) lJ. COURT ORDER
AND MAlLiNG ADD S 0 AppuinlingCounsel i:l C Co-Counxel
SChOli, MlChH€] E m F Subs For FederllDei'ender ij R ths For § d Anoracy an
8 South Thil.d St l:.l P Suh.i For P¢nel Ai\urn¢y l:l \' SuindhyCo -;,'f
4th Floor Prlnr Anurney's Neme: §§ ‘» (‘1: ""

 

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Telepholie Number'.
14. NAME AND MAIL[NG ADDR.ESS OF LAW FIRM [only provide per|nstruelinns)

 

 
   
   

 

 

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15. a. Arraignment and/or Plea

b. Bail and Detention l-learings

c. Motion Hearings
51 d. Trial
C e. Sentencing Hearings
§ f. Revocation Hearings
z g. Appeais Court

h. Other (Specify on additional sheets) _(

(Rnte per hour ~ 5 ) TOTALS:
16. ii. lntervlews and Coni'erences
itio b. Obtaining and reviewing records
n c. Legal research and brief writing
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{ (Ri\te per hour ¢ $ ) TOTALS:
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Z§i. IN COURT COMP. 24. OUT OF COURT COMP. 26. OTHER EXPENSES 27. TOTAL AMT. APPR l CERT
28. SIGNATURE OF THE PRESID|NG JUDIC|AL OFFICER DATE 281. JUDGE:‘MAG. .lUlJGE CODE
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Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

